Conrad
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                                            July 2, 2020

   Clerk of the Court
  U.S. District Court for the District of Guam
  520 West Soledad Avenue,4th Floor
  Hagatna,GU 96910

                  RE:            SEC V. Smith, et al. Civ. No. 2:19-cv-17213-MCA
                                (D.N.J.)

  To the Clerk ofthe Court:

          Enclosed for filing pursuant to 28 U.S.C. §754 is a Notice of Filing of Complaint and
  Order Appointing Receiver, that has been entered in the United States District Court for the
  District of New Jersey. Federal statute requires that we file notice of the appointment ofthe
  Receiver in anyjurisdiction where assets potentially belonging to the receivership may reside.
  Therefore, enclosed for filing please find:

                    • Civil Cover Sheet(Form JS 44);
                    • Notice of the Filing of Complaint and Order Appointing Receiver
                      Pursuant to 28 U.S.C. §754, with Complaint(without attachments) and
                      Order Appointing Receiver attached as exhibits;
                    • Copy of the Notice ofthe Filing of Complaint and Order Appointing
                      Receiver Pursuant to 28 U.S.C. §754, without exhibits, to be stamped and
                        returned;

                    • A self-addressed stamped envelope for return copy; and
                    • A check for $47.00, the standard Miscellaneous filing fee
         Please return to us the copy of the date-stamped Notice in the enclosed envelope once it
  has been assigned a miscellaneous docket number. Please do not hesitate to contact me if you
  have any questions regarding this filing. Your attention to this matter is greatly appreciated.

                                                             Very truly yours.
                         received
                                JUL 06
  RSW/Encs.                                                  Robin S. Weiss, Esq.

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                                                             CONRAD O'BRIEN PC
July 2, 2020
Page 2

cc:    Kelly L. Gibson(by e-mail, with enclosures)
       Scott A. Thompson(by e-mail, with enclosures)
       John V.Donnelly III(by e-mail, with enclosures)
       Mark R. Sylvester(by e-mail with enclosures)
       Brenda Smith (by first class mail, with enclosures)




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